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17                                 UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19   IMPINJ, INC.,                                    Case No. 4:19-cv-03161-YGR-VKD
20                          Plaintiff,
                                                      [PROPOSED] JOINT PRETRIAL
21          v.                                        CONFERENCE STATEMENT
22   NXP USA, INC.,                                   Date: March 18, 2024
23                                                    Time: 8:00 a.m.
                            Defendant.                Location: Courtroom 1, 4th Floor
24                                                    Judge: Hon. Yvonne Gonzalez Rogers

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 1           Pursuant to Section 2 of the Court’s Standing Order re: Pretrial Instructions in Civil Cases

 2   (updated December 21, 2023), Plaintiff Impinj, Inc. (“Impinj”) and Defendant NXP USA, Inc.

 3   (“NXP”) (collectively, the “Parties”) hereby submit this Joint Pretrial Conference Statement.

 4   I.      THE ACTION
 5           A.     The Parties
 6           The Parties to this action are Impinj, Inc., a Delaware corporation with its principal place

 7   of business at 400 Fairview Avenue North, Seattle, Washington 98109, and NXP USA, Inc., a

 8   Delaware corporation with its principal place of business at 6501 William Cannon Drive West,

 9   Austin, Texas 78735.

10           B.     Substance of the Action
11           This is an action for patent infringement, and the jurisdiction of the Court arises under the

12   Patent Act, 35 U.S.C. § 271 et seq. The Court has original jurisdiction over this controversy

13   pursuant to 27 U.S.C. §§ 1331 and 1338(a). Jurisdiction, venue, and Impinj’s standing to bring

14   this suit are not disputed. The issues of infringement, willful infringement and damages (through

15   the earlier trial and motion practice) have already been decided. 1 The upcoming trial relates

16   solely to NXP’s affirmative defense that claims 1, 3, 4, and 7 of U.S. Patent No. 9,633,302 (the

17   “’302 patent”) are invalid as obvious.

18                  1.      The Parties Claims
19           The jury returned a verdict in the earlier trial that NXP has directly infringed claims 1, 12,

20   and 15 of U.S. Patent No. 8,115,597 (the “’597 patent”) 2, and claims 1, 3, 4, and 7 of U.S. Patent

21   No. 9,633,302 (the “’302 patent”) (collectively, the “Asserted Patents”) and that such

22   infringement of the ’302 patent was willful. Infringement of the ’302 patent was based on NXP’s

23   sales of the following integrated circuits:

24                  •    UCODE 8, UCODE 8m, and UCODE 9 products infringes claims 1, 3, 4, and
25

26
     1
       NXP preserves all rights to appeal the Court’s summary judgement ruling of infringement with
27   respect to the ’302 patent as well as the jury verdict with respect to willful infringement and
     damages.
28   2
       NXP preserves all rights to appeal the jury verdict with respect to the ’597 patent.

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 1                        7 of the ’302 patent.

 2           The upcoming trial is limited to a NXP’s affirmative defense and counterclaim that claims
 3   1, 3, 4, and 7 of U.S. Patent No. 9,633,302 (the “’302 patent”) are invalid as obvious 3.
 4
                    2.        Relief Requested
 5           Impinj seeks dismissal of NXP’s affirmative defense of obviousness. NXP seeks a
 6   declaratory judgment that all asserted claims of the ’302 patent are invalid as obvious.
 7
     II.     THE FACTUAL BASIS OF THE ACTION
 8
             A.     Undisputed Facts
 9           The parties stipulate to the facts contained in each party’s statement of undisputed
10   material facts that the responding party confirmed was undisputed. The parties also stipulate to
11   the following facts for incorporation into the trial record without the necessity of supporting
12   testimony or exhibits:
13                  1.        Impinj is a Delaware corporation with its principal place of business at 400
14           Fairview Avenue North, Seattle, Washington 98109.
15                  2.        NXP is a Delaware corporation, with a principal place of business at 6501
16           William Cannon Drive West, Austin, Texas 78735.
17                  3.        NXP is an indirect subsidiary of NXP B.V.
18                  4.        NXP was acquired by NXP B.V. via acquisition from Freescale
19           Semiconductor Inc. in December 2015.
20                  5.        Impinj is the owner of the Asserted Patents.
21                  6.        Harley Heinrich is listed as the named inventor on the ’302 patent.
22                  7.        The ’302 patent was filed on March 31, 2015.
23                  8.        The ’302 patent has a priority date of March 31, 2015.
24                  9.        The ’302 patent issued on April 25, 2017.
25                  10.       NXP has been aware of the ’302 patent since August 11, 2017.
26

27   3
       It is Impinj’s position that the upcoming trial is limited to NXP’s affirmative defense the asserted
     claims of the ’302 patent are invalid as obvious over the combination of Eberhardt and Ching-San,
28   the only combination NXP raised at the prior trial.

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 1                     11.    Impinj accused NXP of infringing the ’302 patent by letter dated October

 2           6, 2017.

 3           B.        Disputed Facts
 4        1. Whether NXP has proven, by clear and convincing evidence, that one or more of claims 1,

 5           3, 4, and 7 of the ’302 patent are invalid.

 6        2. Whether long-felt need for the claimed inventions, copying, licensing, praise, industry

 7           recognition and commercial success rebut any prima facie case of obviousness. 4

 8                     3.     The skill level a person of ordinary skill in the art would have for the ’302

 9           patent.

10           C.        Agreed Statement
11           This action is not suitable for presentation upon an agreed statement of facts, except as

12   stated above under the Undisputed Facts.

13           D.        Stipulations
14                     1.     Stipulated Motion in Limine 5
15           In an effort to avoid motion practice, the parties have agreed that Impinj will not introduce

16   evidence of the PTAB decision rejecting NXP’s petition for inter partes review of the ’302 patent

17   unless NXP introduces evidence or argument that warrants such introduction. The parties have

18   also agreed they will not reference the other lawsuits (including the ‘597 patent litigation, the

19   Washington or the Waco lawsuits) unless either party introduces evidence or argument that

20   warrants such introduction.

21                     2.     Proposed Order on Stipulations Re: Conduct of Trial
22           The parties have agreed to a number of stipulations concerning certain trial disclosures.

23   These stipulations will be included in a Proposed Order on Stipulations Re: Conduct of Trial to

24
     4
       It is NXP’s position that Impinj never properly disclosed during discovery that it intended to rely
25   on long-felt need, copying or licensing as secondary considerations of non-obviousness. In
     response to an interrogatory on this point, Impinj only identified commercial success and industry
26   praise as secondary considerations of non-obviousness, and Impinj should be precluded from eliciting
     testimony, evidence, or argument that any other secondary consideration supports non-obviousness.
27   5
       The Court granted Impinj’s motion to strike Dr. van der Weide’s opinions concerning prosecution
     history disclaimer. Dkt. No. 339 at 20-21. Impinj understands that Dr. van der Weide and NXP
28   will not be offering opinions on this issue during trial.

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 1   be filed with the Trial Readiness Binder.

 2   III.      DISPUTED LEGAL ISSUES
 3             The following are disputed issues of law to be addressed or determined by the Court:

 4          1. Whether NXP cannot prove, as a matter of law, that the asserted claims of the ’302 patent

 5             are obvious under 35 U.S.C. § 103.

 6   IV.       FURTHER DISCOVERY OR MOTIONS
 7             The Parties do not have any discovery remaining or any discovery motions pending.

 8   V.        ESTIMATE OF TRIAL TIME
 9             Pursuant to the Court’s November 3, 2023 Pretrial Order No. 1A Re: Re-trial Date (Dkt.

10   486), the parties understand that the Court will allot 8 hours of trial time to each party during a

11   trial beginning March 18, 2024, at 8:00 AM, and ending approximately on March 21-22, 2023.

12   Pursuant to the Court’s Standing Order Re: Pretrial Instructions in Civil Cases (updated

13   December 21, 2023), the parties understand that the Court’s trial day begins at 8:00 AM and ends

14   at 1:40 PM with two 20-minute breaks, totaling 5 hours per trial day. Accordingly, the parties

15   understand that, following jury selection, the parties will divide the remaining time evenly.

16   VI.       PENDING MOTIONS BEFORE THE COURT
17             There are no motions pending with the Court other than motions in limine.

18   VII.      MOTIONS IN LIMINE
19             NXP filed the following motions in limine:

20                     •   NXP USA, Inc.’s Motion in Limine No. 1 to Preclude Impinj From
21                         Introducing Evidence of “Copying” Including Product “Teardowns”
22
                       •   NXP USA, Inc.’s Motion in Limine No. 2 to Preclude Impinj From Eliciting
23
                           Evidence or Argument Regarding the Court’s Finding of Infringement
24
                       •   NXP USA, Inc.’s Motion in Limine No. 3 to Preclude Impinj Referencing the
25
                           Size, Wealth, or Number of Employees of Either Impinj or NXP
26

27                     •   NXP USA, Inc.’s Motion in Limine No. 4 to Preclude Impinj From Referring

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 1                      to the ’302 Patent as the Enduro Patent (Mooted through resolution by the

 2                      parties.)

 3                  •   NXP USA, Inc.’s Motion in Limine No. 5 Seeking an Order that Impinj
 4                      Should not be Permitted to Tell the Jury that the ’302 Patent is Entitled to a
 5                      Presumption of Validity
 6
            Impinj filed the following motions in limine:
 7
                    •   Impinj’s Retrial Motion In Limine No. 1 Seeking Preclusion of Evidence
 8
                        Relating to HITAG
 9

10   VIII. JUROR QUESTIONNAIRE AND ADDITIONAL QUESTIONS FOR JURY VOIR
           DIRE
11          Impinj and NXP previously filed proposed additional questions to include in the jury
12   questionnaire. Impinj and NXP also previously filed additional questions for jury voir dire.
13   These will be included in the trial readiness binder submitted to the Court.
14
     IX.    TRIAL ALTERNATIVES AND OPTIONS
15
            A.      Settlement Discussion
16          The Parties have engaged in settlement discussions, which have been unsuccessful.
17   Further negotiations are not likely to be productive at this time.
18
            B.      Consent to Trial Before a Magistrate Judge
19          The parties do not consent to trial before a Magistrate Judge for all or part of this action.
20
            C.      Bifurcation, Separate Trial of Issues
21          Neither party desires bifurcation or separate trial of specific issues. The parties
22   understand that the Court intends to bifurcate the invalidity trial from any hearing regarding
23   remedies, including injunction.
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 1   X.     NXP’S STATEMENT OF LEGAL POSITION AND PRESERVATION FOR
            APPEAL REGARDING CERTAIN CLAIM CONSTRUCTION ISSUES
 2
            A.      ’302 Patent: “separated” and “the channel is shaped to facilitate a fluid flow
 3                  from the center to the first and second ends”

 4                  1.      NXP’s Position

 5          For clarity and in an abundance of caution, NXP provides notice that it preserves all of its

 6   objections to the Court’s Claim Construction Orders (Dkts. 102, 130) regarding terms for which

 7   the Court did not adopt NXP’s proposed constructions. See O2 Micro Intl. Ltd. v. Beyond

 8   Innovation Tech. Co., 521 F.3d 1351, 1359 (Fed. Cir. 2008) (where an issue was “fully litigated

 9   and decided at the Markman stage of the litigation,” no further objection to a jury instruction on

10   claim construction is required)).

11          NXP also preserves its objections to the Court’s constructions of the terms “separated”

12   and “the channel is shaped to facilitate a fluid flow from the center to the first and second ends”

13   of the asserted claims of U.S. Patent 9,633,302. The parties did not raise these terms to be

14   construed during claim construction proceedings, and thus their meanings were not decided at

15   that time. (See Dkts. 102, 130.) Although the Court did not expressly state its construction of

16   “separated,” the Court apparently construed the term’s “plain and ordinary meaning” to mean that

17   “the first and second antenna contacts” can be “separated” even though they are connected. (See,

18   e.g., Dkt. 339 at 11, 18.) The Court also expressly construed “the channel is shaped to facilitate a

19   fluid flow from the center to the first and second ends” not to be a substantive limitation that must

20   be satisfied to prove infringement. (Dkt. 339 at 11, 18.) Accordingly, for purposes of preserving

21   its rights on appeal, NXP provides notice that it objects to these constructions.

22                  2.      Impinj’s Position

23          Impinj does not object to NXP preserving its objections. But Impinj disagrees with

24   NXP’s and its expert’s opinions and constructions of the term “separated” as conflicting with the

25   plain and ordinary meaning of the term, in view of the specification of the ’302 patent, for the

26   reasons stated in Impinj’s motion to strike certain opinions of Dr. Subramanian and motion for

27   summary judgment of infringement of the ’302 patent. Impinj also disagrees with NXP’s and its

28   expert’s opinions and constructions of the term “the channel is shaped to facilitate a fluid flow

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 1   from the center to the first and second ends” as conflicting with Federal Circuit precedent for the

 2   reasons stated in Impinj’s motion to strike certain opinions of Dr. Subramanian and motion for

 3   summary judgment of infringement of the ’302 patent.

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 1   Dated: January 26, 2024.

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 1                                       CERTIFICATE OF SERVICE

 2           The undersigned hereby certifies that a true and correct copy of the above and foregoing document

 3   has been served via U.S. District Court CM/ECF notification on January 26, 2024 to all counsel of record.
 4                                                                     /s/ Ramsey M. Al-Salam
                                                                       Ramsey M. Al-Salam
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